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 2                                                                                              r-~
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 5    Chief, Asset Forfeiture Section                                                      _,
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 6                                                                                                     r
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11    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
12
13                            UNITED STATES DISTRICT COURT

14                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                            ,~ ,:
15    IN THE MATTER OF THE SEIZURE        •
      OF $699,152.72 IN BANK FUNDS
16    FROM WELLS FARGO ACCOUNT           STIPULATION AND REQUEST TO
17    ENDING IN 3585, $201,282.25 IN     EXTEND THE DEADLINES TO FILE
      BANK FUNDS FROM WELLS FARGO
      ACCOUNT ENDING IN 6819,            CIVIL FORFEITURE COMPLAINT
18
      $100,059.84 IN BANK FUNDS FROM
19    WELLS FARGO ACCOUNT ENDING
      IN 7800, $81,068.07 IN BANK FUNDS             ROPOSED ORDER LODGED
20    FROM WELLS FARGO ACCOUNT                     CONTEMPORANEOUSLY HEREWITHI
21    ENDING IN 1119, $70,386.75 IN BANK
      FUNDS FROM WELLS FARGO
22    ACCOUNT ENDING IN 4809, AND
      $33,811.02 IN BANK FUNDS FROM
23    WELLS FARGO ACCOUNT ENDING
24    IN 6465.

25
26
            It is hereby stipulated by and between the United States of America (the
27
     "government") and potential claimants Chan Le, Huong Thu Thi Bien, and Thuy Tang
28
     ("Claimants")through their counsel, David A. Kettel, as follows:
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 1          1.    Claimants filed written claims in administrative forfeiture proceedings
 2   commenced by the United States Customs and Border Protection("CBP") with respect
 3   to the $699,152.72 in Bank Funds from Wells Fargo account ending in 3585,
 4   $201,282.25 in Bank Funds from Wells Fargo account ending in 6819, $100,059.84 in
 5   Bank Funds from Wells Fargo account ending in 7800, $81,068.07 in Bank Funds from

 6   Wells Fargo account ending in 1119, $70,386.75 in Bank Funds from Wells Fargo

 7   account ending in 4809, and $33,811.02 in Bank Funds from Wells Fargo account

 8   ending in 6465 (collectively referred to as "defendant bank funds").

 9         2.     The government asserts that CBP has sent the written notice on intent to

10   forfeit required by 18 U.S.C. § 983(a)(1)(A) to all known interested parties. Under 18

11   U.S.C. § 983(a)(2)(A)—(E), the time has either expired or been tolled for any person to

12 file a claim to the defendant bank funds.
13         3.    Under 18 U.S.C. § 983(a)(3)(A), the United States is required to file a

14   complaint for forfeiture against the defendant bank funds alleging that the defendant

15   bank funds are subject to forfeiture within 90 days after a claim has been filed in the

16   administrative forfeiture proceedings, which in this case is September 18, 2019, but the

17   statue provides for an extension ofthis date by court order or upon agreement of the

18   parties.

19         4.     Claimants do not desire that the government initiate a civil forfeiture action

20   against the defendant bank funds at this time, because the parties desire additional time

21   to discuss resolution of the matter.

22         5.     As provided in 18 U.S.C. § 983(a)(3)(A), the parties wish by agreement to

23   extend the time in which the United States is required to file a complaint for forfeiture or

24   indictment against the defendant bank funds, in order to provide the parties an

25   opportunity to discuss settlement.

26         6.     The parties request and agree that the deadlines by which the United States

27   shall be required to file a complaint for forfeiture against the defendant bank funds

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 1   and/or obtain and indictment alleging that the defendant bank funds are subject to
 2   forfeiture be extended from September 18, 2019 to November 18, 2019.
 3         7.     Claimants knowingly, intelligently, and voluntarily give up any rights they
 4   may have under 18 U.S.C. § 983(a)(3)(A)-(C)to require the United States to file a
 5   complaint for forfeiture against the defendant bank funds alleging that the defendant
 6   bank funds are subject to forfeiture by September 18, 2019, and any rights they may
 7   have to seek dismissal of any complaint on the ground that it was not filed or returned on
 8   or before such date.
 9         NOW,THEREFORE,the parties hereto, by and through their respective attorneys,
10   hereby STIPULATE AND REQUEST that the government's time to file a civil
11   forfeiture complaint in connection with the seizure of the defendant bank funds be
12   extended to and include Monday, November 18, 2019.
13         SO STIPULATED
14    Dated: September 10, 2019               Respectfully submitted,
15                                            NICOLA T. HANNA
                                              United States Attorney
16                                            BRANDON D. FOX
17                                            Assistant United States Attorney
                                              Chief, Criminal Division
18                                            STEVEN R. WELK
                                              Assistant United States Attorney
19                                            Chief, Asset Forfeiture Section
20                                            /s/Michael R. Sew Hov
                                              MICHAEL R. SEW HOY
21                                            Assistant United States Attorney
22
                                              Attorneys for Plaintiff
23                                            UNITED STATES OF AMERICA
24
25   Dated: September 10 2019                  /s/der email authorization)
26                                            DAVID A. KETTEL
                                              Attorney for Claimants
27                                            CHAN LE,HUONG THU THI BIEN, AND
28                                            THLTY TANG

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 1                           PROOF OF SERVICE BY MAIL

 2         I am over the age of 18 and not a party to the within action. I am employed
 3   by the Office ofthe United States Attorney, Central District of California. My
 4   business address is 312 North Spring Street, Suite 1400, Los Angeles, California
 5   90012.
 6         On September 10, 2019, I served a STIPULATION AND REQUEST TO
 7 EXTEND THE DEADLINES TO FILE CIVIL FORFEITURE COMPLAINT on
 8   each person or entity named below by enclosing a copy in an envelope addressed
 9 as shown below and placing the envelope for collection and mailing on the date
10   and at the place shown below following our ordinary office practices.
11 TO: David A. Kettel, Esq
          Theodora Oringher PC
12        1840 Century Park East, Suite 500
          Los Angeles, CA 90067
13
          X I am readily familiar with the practice of this office for collection and
14
   processing correspondence for mailing. On the same day that correspondence is
15
   placed for collection and mailing, it is deposited in the ordinary course of business
16
   with the United States Postal Service in a sealed envelope with postage fully
17
   prepaid.
18
          I declare under penalty of perjury under the laws of the United States of
19
   America that the foregoing is true and correct.
20
          I declare that I am employed in the office of a member ofthe bar of this
21
   court at whose direction the service was made.
22
         Executed on: September 10, 2019, at Los Angeles, California.
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24                                                   LEN WU
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